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                                                                Document Filed Electronically

                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

RENEX NY Corp.,                                     :
                                                    :   Civil Action No.
                              Plaintiff,            :
         v.                                         :           , U.S.D.J.
                                                    :           , U.S.M.J.
SUPPLY DEPOT LLC, MATEUS ZIMA, and                  :
ABSOLUTE COATINGS, INC.,                            :
                                                    :
                              Defendants.           x

                 RULE 7.1 DISCLOSURE STATEMENT OF RENEX NY CORP.
         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and to enable judges and

magistrate judges of the Court to evaluate possible disqualification or recusal, the undersigned

counsel for Plaintiff Renex NY Corp. certifies that Renex NY Corp. is a privately held company

without parent corporations and that no publicly held corporation owns 10% or more of Renex
NY Corp. stock.
                                            Respectfully submitted,
                                            LERNER, DAVID, LITTENBERG,
                                             KRUMHOLZ & MENTLIK, LLP
                                            Attorneys for Plaintiff Renex NY Corp.

Dated: January 27, 2023                     By     s/ Russell W. Faegenburg
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